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                                                       REGISTER OF ACTIONS
                                                               CASE NO. CI59617

Jimmie Denning vs. Geovera Specialty Insurance Company                   §                        Case Type: Other Civil
                                                                         §                        Date Filed: 05/31/2019
                                                                         §                          Location: County Court at Law #4
                                                                         §
                                                                         §


                                                               PARTY INFORMATION

                                                                                                                     Attorneys
Defendant     Geovera Specialty Insurance Company


Plaintiff     Denning, Jimmie                                                                                        Omar Ochoa
                                                                                                                      Retained
                                                                                                                     956-630-3266(W)


                                                          EVENTS & ORDERS OF THE COURT

           OTHER EVENTS AND HEARINGS
05/31/2019 Original Petition (OCA)
06/03/2019 Citation
06/03/2019 Citation
                                                                  Requested By Geovera Specialty Insurance Company
              Geovera Specialty Insurance Company                 Unserved
                                                                  Anticipated Method     Certified Mail
07/02/2019 Answer




                                                                                                                         EXHIBIT 2
https://pubweb.brazoriacountytx.gov/PublicAccess/CaseDetail.aspx?CaseID=3816936                                                        7/5/2019
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                                                                                       Filed for Record
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                                                                   7/2/2019  26AM
                                                                                       Joyce Hudman, County Clerk
                                                                                       Brazoria County, Texas
                                                                                       CI59617
                                                                                       Cheryl Matt, Deputy

                                        CAUSE NO. CI59617

JIMMIE DENNING                                    §                      IN THE COUNTY COURT
     Plaintiff,                                   §
                                                  §
                                                  §
vs.                                               §                                   AT LAW NO. 4
                                                  §
                                                  §
 GEOVERA SPECIALTY INSURANCE                      §
 COMPANY,                                         §                 BRAZORIA COUNTY, TEXAS
     Defendant.

             DEFENDANT GEOVERA SPECIALTY INSURANCE COMPANY’S
                            ORIGINAL ANSWER

TO THE HONORABLE JUDGE OF SAID COURT:

        Comes now Defendant GEOVERA SPECIALTY INSURANCE COMPANY (hereinafter
“Defendant”) and file this, its original answer, and would respectfully show as follows:
                                                  I.
                                       ORIGINAL ANSWER

        1.      Pursuant to Rule 92 of the Texas Rules of Civil Procedure, Defendant generally

denies the allegations contained within Plaintiff’s Original Petition and demands strict proof

thereon by a preponderance of the evidence in accordance with the laws of the State of Texas.

                                                  II.

                                  DEMAND FOR JURY TRIAL

        2.      Defendant demands a trial by jury. Defendant believes the Plaintiff has tendered

the required jury fee.

        WHEREFORE, PREMISES CONSIDERED, Defendant GEOVERA SPECIALTY

INSURANCE COMPANY respectfully prays that Plaintiff take nothing on his claims against

Defendant, that Defendant recover its costs herein, and that it receive such other and further

relief, general or special, at law or in equity, to which it may show itself to be justly entitled.




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                                           Respectfully submitted,

                                           THOMPSON, COE, COUSINS & IRONS, L.L.P.

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                                           ATTORNEYS FOR DEFENDANT
                                           GEOVERA SPECIALTY INSURANCE
                                           COMPANY

                               CERTIFICATE OF SERVICE

        This is to certify that on the 1st day of July, 2019, a true and correct copy of the
foregoing document was delivered to all counsel of record in accordance with the Texas Rules of
Civil Procedure as follows:

Omar Ochoa
Omar Ochoa Law Firm
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oochoa@omarochoalaw.com
Attorney for Plaintiff


                                                   /s/ Rhonda J. Thompson_________
                                                   Rhonda J. Thompson




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